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UNITED STATES BANKRUPTCY COURT

DISTRICT OF DELAWARE
IN RE: Luminant Energy Company, LLC § CHAPTER 11
§
§
§
DEBTOR(S) § CASE NO.: 14-11023-11

NOTICE OF WITHDRAWAL OF PROOF OF CLAIM

Now comes Cherokee CAD, a secured creditor herein, and notifies the Court and all other parties
that it is withdrawing its secured claim in this case. Cherokee CAD filed its secured claim on or about
June 17, 2014, in the amount of $86,750.40, which claim is designated as claim number 2199 on the
claims register. That claim is no longer owed by the Debtor(s). Therefore, Cherokee CAD hereby
withdraws its claim.

CERTIFICATE OF SERVICE

i) i
[hereby certify that on = ~ day of dy Gt a , 2015, a true and correct copy of the above and
foregoing document was filed with the Court and’served via the Court’s electronic noticing system upon all
parties thereto.

Respectfully submitted,
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